 Case 5:06-cr-00124        Document 215        Filed 12/03/09      Page 1 of 3 PageID #: 610




                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                     BECKLEY DIVISION


UNITED STATES OF AMERICA,

                              Plaintiff,

v.                                                   CRIMINAL ACTION NO. 5:06-cr-000124-03

BRIAN CROSS,

                              Defendant.



        REVOCATION OF SUPERVISED RELEASE AND JUDGMENT ORDER

       On December 2, 2009, the Defendant, Brian Cross, appeared in person and by counsel, S.

Mason Preston, for a hearing on the Report Of Offender Under Supervision submitted by the

Defendant’s supervising probation officer. The United States was represented at the hearing by John

L. File, Assistant United States Attorney. United States Probation Officer Amy Berry-Richmond

was also present at the hearing.

       On November 13, 2006, the Defendant was sentenced to a term of imprisonment of one

hundred fifty-two days (time served) to be followed by a three year term of supervised release. The

Defendant began serving the term of supervised release on November 15, 2006. On February 4,

2009 the Report Of Offender Under Supervision was filed charging the Defendant with violating

certain conditions of supervised release.

       At the hearing, the Court found that the Defendant had received written notice of the alleged

violations as contained in the Report, and that the evidence against the Defendant had been
 Case 5:06-cr-00124         Document 215        Filed 12/03/09       Page 2 of 3 PageID #: 611




disclosed. The Court further found that the Defendant appeared, was given the opportunity to

present evidence, and was represented in the proceeding by counsel.

       The Court then found, by a preponderance of the evidence, that the Defendant violated

certain conditions of supervised release as contained in the Report, specifically:

       1.      Violation of an unnumbered standard condition: The defendant shall not commit
               another Federal, state or local crime. On January 31, 2009, the offender was arrested
               by members of the Beckley Police Department in Beckley, West Virginia, and
               charged with the following violations of West Virginia Code:
               60A-4-401(c): Possession of a controlled substance (less than fifteen grams of
               cocaine base);
               61-7-7: Felon in possession of a firearm;
               60A-4-401(a): Possession with intent to deliver a controlled substance;
               60A-4-401(c): Possession of a controlled substance (less than fifteen grams of
               hydrocodone).

       2.      Violation of standard condition No.7: The defendant shall refrain from excessive use
               of alcohol and shall not purchase, possess, use, distribute, or administer any narcotic
               or other controlled substances or any paraphernalia related to such substances, except
               as prescribed by a physician. [Probation Officer Amy Berry-Richmond] re-alleges
               the conduct alleged in violation number one. Additionally, the offender submitted
               a diluted urine specimen on January 27, 2009.

       The Court made no finding with regard to the diluted urine specimen referenced in Violation

2.

       In making these findings, the Court relied upon the information contained in the Report, and

the Defendant’s statement that he does not dispute the violations contained in the Report.

       Having found the Defendant to be in violation of the conditions of supervised release, the

Court REVOKED the Defendant’s supervised release and entered judgment as follows:

       It is the JUDGMENT of the Court that the Defendant be committed to the custody of the

Federal Bureau of Prisons for a term of 18 MONTHS. The Defendant shall be given credit for time

served as appropriately calculated by the Bureau of Prisons.


                                                 2
 Case 5:06-cr-00124        Document 215       Filed 12/03/09      Page 3 of 3 PageID #: 612




       The Defendant was remanded to the custody of the United States Marshal.

       IT SO ORDERED.

       The Court DIRECTS the Clerk to send a copy of this Order to the Defendant and counsel,

the United States Attorney, the United States Probation Office, and the United States Marshal.

                                            ENTER:         December 3, 2009




                                               3
